Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.774 Filed 05/17/21 Page 1 of 20




Melvvin Jones Jr - Pro Se Plaaintiƴ

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IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                                           CASE # 2:21-ccv-110937 AJT EAS

                                                 Transferred to Judge Levy

                             Jones’ additional MOTION as to Ethical

                   Issues for the MI Supreme Court [and] MI
Attorney General (i.e. AG Dana Nessel) to “weigh-in”on:




Melvvin Jones Jr, Federal EPA, City of Fliint, Wellss Fargo Bank, HUD, and The
State of Michigan - Plaaintiƴs

v.

NAPOLI LAWFIR
            RM, attorney Patrick Lanciotti and attorney Hunter and
Attorney Corey Stern -- Defendants
---------------------------------------------------------------------------------------------------------
Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.775 Filed 05/17/21 Page 2 of 20




Additional --- ETHICAL ISSUES (at issue):

    As and for additional ‘context’ for this
(additional) MOTION for ADVISORY OPINION
from the Michigan (MI) State Supreme Court,
and the Michigan State AG (i.e. AG Dana
Nessel) ---- please see the three (3)
attachments aƧxed hereto.

    SpeciƩcally ---- it seriously appears that
the named attorney defendants (i.e. Napoli
LawƩrm, Attorney Stern, Hunter and
Lanciotti… i.e. “Lead PlaintiƦs’ Attorneys” in
the companion FWC # 16-cv-10444) HAVE
FAILED their ethical obligation as ‘lead class
council’ which MANDATES proper and fair/
suƧcient NOTICE (e.g. as to the 1st and 2nd
phase of the FWC). For example, class
certiƩcation as to the VEOLIA, at al (2nd phase
Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.776 Filed 05/17/21 Page 3 of 20




of the FWC) is PUT IN JEOPARDY as to such due
to “improper notice”; AND the 1st phase of the
FWC lawsuit is SIMILARLY PUT IN JEOPARDY
as to such:
    For example:
    a.) It appears that the “undocumented”
(e.g. Hispanic and/ or Latinx) population of the
Adult Flint Residents HAVE NOT received
proper Notice,
    b.) It appears that the sight - impaired
population of the Adult Flint Residents HAVE
NOT received proper Notice,
    c.) It appears that the mobility - impaired
population of the Adult Flint Residents HAVE
NOT received proper Notice,
    d.) It appears that person with
“informational - processing disorders” as to
the population of the Adult Flint Residents
HAVE NOT received proper Notice,
    e.) It appears that persons whom are
“house-bound” due to disability as to the
Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.777 Filed 05/17/21 Page 4 of 20




population of the Adult Flint Residents HAVE
NOT received proper Notice,
    f.) It appears that persons who have
medical issues surrounding COVID-19 as to the
population of the Adult Flint Residents HAVE
NOT received proper Notice, and
    g.) It appears that persons who have
immune systems issues as to reduced ability to
fend-oƦ infection as to the population of the
Adult Flint Residents HAVE NOT received
proper Notice,
    h.) It appears that persons who have some
sort of learning disability as to the population
of the Adult Flint Residents HAVE NOT received
proper Notice,
    i.) It appears that persons who have their
Michigan State Drivers License “medically
suspended” due to underlying serious medical
issues as to the population of the Adult Flint
Residents HAVE NOT received proper Notice.
Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.778 Filed 05/17/21 Page 5 of 20




     Please note: by notice…. Such includes LACK
of suƧcient time [and/ or] ability to register, or
OPT -IN or OPT OUT of the 1st phase of the
FWC settlement.
     For example,
Federal Rules of Civil Procedure Rule 23 has
been used to address alleged improper
solicitation of putative class members in the
context of determining whether to certify a
class. See Busby v. JRHBW Realty, Inc., 513 F.3d
1314, 1323-24 (11th Cir. 2008), declined to
extend Howland v. First Am. Title Ins. Co., 672
F.3d 525 (7th Cir. 2012); cf. Ramos, 325 F.R.D.
at 394 n.6; Spagnuoli, 20 F. Supp. 3d at 358-59;
German v. Fed. Home Loan Mortg. Corp., 885 F.
Supp. 537, 556 (S.D.N.Y. 1995) [some courts
have held that the ethical conduct of counsel is
relevant to the issue of adequacy of counsel]
(siting Brame v. Ray Bills Fin. Corp., 85 F.R.D.
568 (N.D.N.Y. 1979); see also William B.
Rubenstein, Newberg on Class Actions, Ethical
Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.779 Filed 05/17/21 Page 6 of 20




Concerns In Class Action Practice, § 19:4
(Westlaw, Nov. 2018 Update).
And,
Further, an attorney-client relationship is
“diƦerent in the class context than it is in a
traditional, nonclass situation,” whereas a
relationship between class counsel and named
class members is “one of private contract,
whereas the relationship between absent class
members and class counsel is one of court
creation.” In re Chicago Flood Litig., 289 Ill.
App. 3d 937, 942 (1st Dist., 2d Dep’t 1997)).;
also,
a. Adequacy of representation implicates
“plaintiƦs as class representatives and counsel,
and the impact of alleged improper or
unethical conduct by each.” Meachum v.
Outdoor World Corp., 171 Misc. 2d 354, 358
(Sup. Ct. Queens Cty. 1996). b. Such
representation “depends on two factors: (a) the
plaintiƦ’s attorney must be qualiƩed,
Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.780 Filed 05/17/21 Page 7 of 20




experienced, and generally able to conduct the
proposed litigation.” Susman v. Lincoln Am.
Corp., 561 F.2d 86, 90 (7th Cir. 1977) (quoting
Wetzel v. Liberty Mut. Ins. Co., 508 F.2d 239,
247 (3rd Cir. 1975)). c. Furthermore, “[t]he
conduct of plaintiƦ’s counsel, particularly the
ethical considerations of such conduct, is a
factor in considering the adequacy of
representation.” Meachum, 171 Misc. 2d at 358
(citing Cannon v. Equitable Life Assurance
Soc’y of U.S., 106 Misc. 2d 1060, 1068 (Sup. Ct.
Queens Cty. 1980)).; moreover:
       ffew
    A fe  w possible repercussions for f r violating
                                       fo
relevant ethical rules A. Denial of   o attorney’s
                                        attorney
                                               e ’s
fees.
f es. See Rodriguez v. Disner,
fe                               r 688 F.3d
                                         F 3d 645 (9th
                                         F.
Cir. 2012) B. Denial ofo class certiƩcation.
                                 certiƩ
                                      i cation.
Reliable Money  e Order, r Inc. v. McKnight
                                    McK
                                      c night Sales
Co., 704 F.3d
           F 3d 489 (7th Cir. 2013); Creative
           F.
Montessori Learning Ctrs. Ctrs
                            r . v. Ashford
                                   A hf
                                   As hford Gear,
                                                r LLC,
                                                     C
662 F.
     F
     F.3d3d 913 (7th Cir. 2011).
                          2011
Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.781 Filed 05/17/21 Page 8 of 20




     Respectfully Submitted.

Thank you,

Date: May 18th, 2021



               ………………………………………………….
     Disabled Pro Se PlaintiƦ Melvin Jones Jr.
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                                Spanish-speaking   No. 56,
                                                 Community    PageID.782
                                                           Ignored                 Filed
                                                                   in Flint Water Crisis    05/17/21
                                                                                         Response           Page 9 of 20
                                                                                                  | Earthjustice


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    1       OUR STORIES



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    Among the hardest hit in Flint's water crisis are the Spanish-speaking, undocumented
    residents who live in the shadows, often isolated from public outreach and information
    campaigns. (Spanish language version available).

    By Earthjustice | October 19, 2016




    Among the hardest-hit in Flint's water crisis are the Spanish-speaking undocumented residents
    who live in the shadows, often isolated from public outreach and information campaigns.

                                                                                                BARBARA KALBFLEISCH/SHUTTERSTOCK




https://earthjustice.org/blog/2016-october/spanish-speaking-community-ignored-in-flint-water-crisis-response                       1/8
5/17/2021   Case 5:21-cv-10937-JEL-EAS       ECFCommunity
                                 Spanish-speaking No. 56,Ignored
                                                           PageID.783            Filed
                                                                 in Flint Water Crisis   05/17/21
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    Este blog está disponible en español aquí.

    Written by San Juana “Juani” Olivares, president of the Genesee County Hispanic
    Latino Collaborative.

    It’s already been way too long.

    Our lead crisis began in April 2014 when, in a misguided effort to save money, Flint
    began drawing water for the municipal water system from the Flint River. The lead in
    older water pipes began to flake off into our drinking water. Almost immediately,
    residents began complaining about its acrid smell and bitter taste.

    Evidence of serious lead contamination was confirmed in February 2015, and then it
    took 11 months for Governor Rick Snyder to acknowledge the public health disaster
    and declare a state of emergency. President Obama followed up quickly, declaring a
    federal state of emergency two weeks later.

    Now, the U.S. Congress finally is poised to pass a measure that would help the city fix
    the defective water system.

    The urgency of this situation is difficult to exaggerate, and yet the response has been
    staggeringly slow.

    Officials from local agencies to the federal government seem satisfied with providing
    short term solutions, like providing bottled water, as if that were enough.

    But for many in Genesee County, the poisoned water continues to threaten their
    health.

    Among the hardest-hit in the community are the Spanish-speaking undocumented
    residents who live in the shadows, often isolated from public outreach and
    information campaigns.

    Long after news organizations began reporting about the dangerously high levels of
    lead in the water, many in the Hispanic-Latino community continued to use it,
    unaware of the risks to their children’s health. And even after they became aware of
    the contamination, many families were reluctant to appear at bottled water
    distribution centers for fear of having to produce identification cards or of being
    harassed, humiliated or even deported. Furthermore, public health advisories about
    the availability of water filters and bottled water were not provided in Spanish.



https://earthjustice.org/blog/2016-october/spanish-speaking-community-ignored-in-flint-water-crisis-response             2/8
5/17/2021   Case 5:21-cv-10937-JEL-EAS       ECFCommunity
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    Children in Flint and the wider Genesee County have been exposed to levels of lead
    that are to known to cause developmental disorders, hearing loss, seizures, and
    behavioral problems. For many of the children who’ve been drinking lead in the
    earliest part of their lives, their families won’t be able to see the full health impacts of
    lead exposure for their child for several years.

    All families in Flint are worried about the impact the poisoned water has had on their
    children, but for undocumented parents, gaining access to health care for their
    children creates another challenge.

    They don’t know where to turn for help.

    The Genesee County Hispanic Latino Collaborative has mobilized volunteers to
    distribute informational flyers in Spanish, assist families in gaining access to safe
    water and work to address health problems as they appear.

    But in the waning days of the 114th Congress, our leaders must find the courage to
    provide funding to help pay the estimated $1.5 billion cost of replacing Flint’s
    corroded, dangerous water infrastructure. Just last week, the House passed a water
    resources bill that included provisions with federal aid to help pay for repairs in Flint.
    The Senate passed a similar bill earlier in September. As the two chambers meet to
    conference the bills together, members must remain vigilant in advocating for
    funding for Flint.

    In the bigger picture, it’s time for leadership on lead issues in the United States. We
    have known that lead is a dangerous neurotoxin for our children for decades. The
    Environmental Protection Agency has also acknowledged that communities of color
    are hit hardest by lead poisoning. Now, we need a prevention strategy to get the lead
    out of our water, our soil, and our air before it gets into our children and hurts their
    bright futures.

    In the meantime, the crisis continues. Local, state and federal agencies have failed
    to respond aggressively to the public health emergency that has gone on for more
    than two years.

    No amount of free bottled water can change that sickening reality.

    We must equip families with the tools they need to respond in an environmental
    crisis like the lead contamination in Flint. If we have learned one thing, it should be
    that providing access to information in linguistically and culturally appropriate ways


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    is critical to equip families with the tools they need to respond in a crisis. This is an
    issue of environmental justice.

    Our government must make an effort to provide information in whatever way
    necessary to reach all of its people, rather than leaving the most vulnerable to fend
    for themselves.

    This blog was first published by El Diario on October 12, 2016.



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      
    Ya ha pasado demasiado tiempo.

    Nuestra crisis por el plomo empezó en abril del 2014 cuando, en un esfuerzo erróneo
    para ahorrar dinero, Flint empezó a extraer agua del Río Flint para el sistema
    municipal de agua. El plomo en la tubería antigua empezó a descascararse y a
    arrojar esas escamas a nuestra red hidráulica. Casi inmediatamente, los residentes
    empezaron a quejarse de un olor a azufre y de un sabor amargo.

    La evidencia de la seria contaminación por plomo fue confirmada en febrero del
    2015, pero luego le tomó 11 meses al Gobernador Rick Snyder admitir el desastre de
    salud pública y declarar un estado de emergencia. El Presidente Obama le dio
    seguimiento rápidamente, proclamando un estado de emergencia federal dos
    semanas más tarde.

    Ahora, el Congreso de Estados Unidos finalmente está listo para aprobar una
    medida que ayudaría a la ciudad a arreglar su defectuoso sistema de agua potable.

    La urgencia de esta situación es difícil de exagerar, sin embargo la respuesta ha sido
    pasmosamente lenta.

    Funcionarios de agencias locales y del gobierno federal parecen estar satisfechos
    con brindar soluciones a corto plazo, como la de dar agua embotellada, como si eso
    fuera suficiente.

    Pero para muchos en el Condado de Genesee, el agua envenenada sigue
    amenazando su salud.



https://earthjustice.org/blog/2016-october/spanish-speaking-community-ignored-in-flint-water-crisis-response                  4/8
5/17/2021   Case 5:21-cv-10937-JEL-EAS       ECFCommunity
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    Entre los más afectados en la comunidad están los residentes indocumentados de
    habla hispana que viven en las sombras, a menudo aislados del alcance de la
    difusion pública y de las campañas de información.

    Mucho tiempo después de que las agencias de noticias empezaron a reportar sobre
    los niveles peligrosamente altos de plomo en el agua, muchas personas en la
    comunidad hispana-latina siguieron usando esa agua, sin saber de los riesgos que
    representaba para la salud de sus hijos. Incluso después de haberse enterado de la
    contaminación, muchas familias estuvieron reacias a presentarse a los centros de
    distribución de agua embotellada por miedo a tener que presentar documentos de
    identificación o miedo a ser acosados, humillados o incluso deportados. Aparte, las
    advertencias de salud pública sobre la existencia de filtros de agua y agua
    embotellada no fueron ofrecidas en español.

    Los niños de Flint y del resto del Condado de Genesee han sido expuestos a niveles
    de plomo que se sabe causan desórdenes de desarrollo, pérdida del oído, ataques
    epilécticos, y problemas de conducta. Para muchos de los niños que han estado
    ingiriendo plomo en la primera etapa de sus vidas, sus familias no podrán ver las
    repercusiones de la exposición del plomo en la salud de sus hijos por varios años.

    Todas las familias en Flint están preocupadas por el impacto que el agua
    envenenada ha tenido en sus hijos, pero para los padres indocumentados, tener
    acceso a servicios médicos para sus hijos crea otro reto.

    No saben a dónde acudir para pedir ayuda.

    San Juana “Juani” Olivares es presidenta del grupo Hispanic Latino Collaborative del
    Condado de Genesee.


                                                                              Tags: Clean Water Act, Diversity, Equity &
                                                                                    Inclusion, Español, Lead, Water




                                                                           Oil and Gas Threat Map Shows At-Risk Populations
                                                                                                               Next Blog Post   

           Previous Blog Post
    A Sinking Feeling about Florida’s Phosphate Mines


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   Flint


   Flint again most impoverished city in the
   nation, new census data shows
   Updated Jan 29, 2019; Posted Sep 17, 2018




(Jake May | MLive.com )
ByCase
   Zahra5:21-cv-10937-JEL-EAS   ECF
         Ahmad | zahmad@mlive.com     No. 56, PageID.788 Filed 05/17/21 Page 15 of 20

FLINT, MI--More than half of Flint's children are living in poverty.

According to new U.S. Census Bureau data from 2017, Flint is the poorest city of its
size in the nation. Nearly 39 percent of the city's residents and 60 percent of its
children are living in poverty.

The national average of children living in poverty is 21 percent, according to the
National Center for Children in Poverty.

Detroit was the sixth-most impoverished city and Dearborn was 10th, according to the
data.

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The bureau released its estimate of 2017 poverty rates last week for 608
municipalities nationwide with a population of at least 65,000.

Flint also had the nation's highest poverty rate in 2016.

Overall, the percentage of residents living in poverty decreased by 6 percentage points
but the number of children living in poverty increased by 2 percentage points since
2016.

The U.S. Department of Health and Human Services lists living below the poverty line
as an annual income of $12,140 for a single individual.

The overall number of children living in poverty in Flint actually decreased from 15,360
in 2016 to 12,357 in 2017, according to census data.

However, the number of kids under the age of 5 living in poverty increased from 4,854
in 2016 to 5,027 in 2017, according to census data from the American Fact Finder.
A Case 5:21-cv-10937-JEL-EAS
  decrease                        ECFcould
            in the city's population  No. 56, PageID.789
                                           inflate the child Filed 05/17/21
                                                             poverty         Page 16
                                                                      rate despite a of 20
decrease in the number of kids living in poverty, said Data and Policy Advisor for
Poverty Solutions at the University of Michigan Joshua Rivera.

According to census data, the population in Flint has steadily declined since 2010. The
population of whom poverty status is determined went down from 95,508 in 2016 to
94,144 in 2017.

With the population of Flint shrinking, those with lower incomes are making a larger
percent of the population.

"As Flint's population gets smaller, the people who remain are facing more difficulties,"
Rivera said. "We know those who stay may be poorer so there are more kids that are
poor."

It could be that those who are leaving the city don't have kids or have more years of
education making them more mobile, and those that don't have the means to leave are
staying and having more kids, Rivera explained.

"What we know is poverty among children under the age of five increased last year,"
Rivera said.

According to Rivera, childhood poverty is strongly tied to the economic status of their
parents.

Overall, the number of people 16 years and older who are unemployed in the city has
decreased. However, the demographics of those who are unemployed gives a mixed
message on the economy in Flint.

The number of men who are unemployed and facing poverty increased to nearly 3,400
in 2017, up from roughly 2,500 in 2016. The number of women unemployed and facing
poverty shrunk to roughly 1,900 residents in 2017, down from nearly 3,000 the year
prior.

Rivera said it is hard to reach accurate conclusions on what the numbers mean
because of Flint's changing population.

Instead, Rivera said someone can draw assumptions from the data based on what they
do know and then use those assumptions to guide future research on the issue.



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    Flint


    Federal court asked to give Flint residents
    more time to register for water crisis
    settlement
    Updated Mar 25, 2021; Posted Mar 25, 2021




Flint resident Patricia Starks hands out water bottles to her nephews to keep them hydrated as they wait for dinner on
April 10, 2018. Starks said bottled water is the only water any of them have ever drank, since each is under the age of
four and born after the water crisis had already started. (Jake May | MLive.com) Jake May | MLive.com
 Case 5:21-cv-10937-JEL-EAS ECF No. 56, PageID.791 Filed 05/17/21 Page 18 of 20
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By Ron Fonger | rfonger1@mlive.com


FLINT, MI -- Attorneys for some residents in the Flint water crisis settlement are
asking a federal court judge to give adults and children more time to register to opt-in
or opt-out of the settlement with a Monday, March 29, deadline looming.

Philadelphia attorney Mark Cuker, who represents approximately 1,300 Flint residents
in federal water cases, asked to extend the registration period to May 17, and U.S.
District Court Judge Judith E. Levy has set a hearing for his request on Friday, March
26.

                                       Advertisement




Cuker’s court motion asking for the additional time says the extension is needed to
accommodate “a sustained increase of public interest in registering” and because of a
lack of access to bone scan testing other than an existing test site operated by
another law firm.

“Without this additional time, many of Flint residents could either be excluded from
the partial settlement process all together, while others will not be able to properly
assess how to proceed now that there will be no alternative (bone) scanning available,
if shown to be safe,” Cuker’s motion says.

The state of Michigan and lead attorneys for individuals represented by their own
lawyers oppose the 60-day extension, the motion filed Wednesday, March 25 says,
while lead attorneys representing individuals in a class action tied to the settlement
favor it.

On Thursday, March 26, two additional attorneys who represent Flint residents filed
motions supporting the requested deadline extension.
 Casesaid
Cuker 5:21-cv-10937-JEL-EAS    ECFthe
          only a few days ago, “in  No.midst
                                        56, PageID.792    Filed
                                             of registration    05/17/21
                                                              fever,”       Page 19
                                                                      he learned    ofan
                                                                                 that 20
alternative site to scan residents’ bones to determine their lead exposure “would not
be feasible” and said portable scanning equipment being used in Flint by the law firm
Napoli Shkolnik has not been shown “by qualified professionals to be safe for
humans.”

Adults and children with completed bone scans can earn significantly more than
others in the same age categories, according to the settlement. Blood and
neurological testing results can also be used to prove lead exposure in those making
claims.

The $641-million water crisis settlement was reached by attorneys for Flint residents
and the state of Michigan in August and was later joined by the city of Flint, McLaren
Regional Medical Center and Rowe Professional Services, each of which agreed to pay
millions of dollars to excuse themselves and their employees from more than 100
water crisis lawsuits pending in state and federal courts.

The settlement has received preliminary approval from Levy. It provides for nearly 80
percent of settlement funds -- after attorney fees and expenses -- to be paid to
children who were younger than 18 when they were first exposed to Flint River water,
which contained elevated levels of lead, bacteria and chlorination byproducts in 2014
and 2015.

As the registration deadline has approached, Cuker said response from the public “has
grown exponentially” with his own law firm having scheduled more than 100
appointments with citizens seeking to register, with dozens more seeking
appointments for the remainder of this week and into the weekend.

As of Monday, March 22, the U.S. District Court claims administrator reported that
there were approximately 29,220 registrants that had been entered into the
settlement database with an additional 4,121 registration forms that have been
received but that are still being processed.

“Additionally, a major qualifying proof for higher monetary awards -- bone scan testing
-- is all but removed from the grid categories for thousands of citizens,” who have not
been able to get access to the procedure, the motion says.

Bone scans have been a major point of contention in the settlement agreement and
Cuker said efforts to set up a safe clinic for the procedure have failed, in part because
doctors who investigated the possibility “were never able to obtain a device from the
          Case 5:21-cv-10937-JEL-EAS
         manufacturer that would be ableECF  No.modified
                                         to be   56, PageID.793  Filed
                                                         (for human    05/17/21
                                                                     testing)    Page the
                                                                              because 20 of 20
         manufacturer refused to provide one if it was going to be used on people.”

         Dr. Mona Hanna-Attisha and Dr. Lawrence Reynolds, key figures in having the water
         crisis recognized as a federal emergency, have each advised against the procedure for
         children, particularly the use of a portable X-ray fluorescence device, or XRF, that was
         originally not designed for use on humans.

         Hunter Shkolnik of Napoli Shkolnik and Corey Stern of Levy Konigsberg LLP, who were
         appointed as lead attorneys for individually represented Flint residents in the
         settlement, have defended use of the XRF, saying it is not being used to diagnose,
         prevent or treat any disease, and “poses no risk to children or adults to exposure to
         radiation.”

         Read more on MLive:

         Monday registration deadline looms for Flint water crisis settlement

         Flint pediatrician who blew the whistle on water crisis won’t recommend bone
         scans for kids

         Flint mayor’s health advisor calls water settlement bone lead testing ēa human
         rights violation’

         Youngest Flint water crisis victims to get 80 percent of historic $600 million
         settlement

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